Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10725 Page 1 of 8




 1   Karen P. Hewitt (SBN 145309)
     kphewitt@jonesday.com
 2
     Randall E. Kay (SBN 149369)
 3   rekay@jonesday.com
     JONES DAY
 4
     4655 Executive Drive, Suite 1500
 5   San Diego, California 92121
     Telephone: (858) 314-1200
 6
     Facsimile: (844) 345-3178
 7   Attorneys for Qualcomm Incorporated
 8
     Juanita R. Brooks (SBN 75934)
 9   brooks@fr.com
     Seth M. Sproul (SBN 217711)
10   sproul@fr.com
11   FISH & RICHARDSON P.C.
     12390 El Camino Real
12   San Diego, CA 92130
     Telephone: (619) 678-5070
13   Facsimile: (619) 678-5099
14   Attorneys for Apple Inc.
     [Additional counsel identified on signature page]
15
                           UNITED STATES DISTRICT COURT
16
17                      SOUTHERN DISTRICT OF CALIFORNIA

18 QUALCOMM INC.,                             Case No. 3:17-cv-1375-DMS-MDD

19                      Plaintiff,            JOINT MOTION REGARDING
                                              APPLE’S REQUEST FOR LEAVE TO
20         v.                                 ASSERT ADDITIONAL PRIOR ART
                                              COMBINATIONS, QUALCOMM’S
21                                            REQUEST FOR LEAVE TO ASSERT
     APPLE INC.,                              ADDITIONAL CLAIMS, AND TO
22                                            DISMISS CERTAIN APPLE
                        Defendant.            COUNTERCLAIMS
23
24 AND RELATED COUNTERCLAIM. District Court Judge: Hon. Dana M. Sabraw
25
26
27
28
                                                   Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10726 Page 2 of 8




 1           Qualcomm Inc., Qualcomm Technologies, Inc. (collectively, “Qualcomm”),
 2   and Apple Inc. (“Apple”), by and through their respective counsel, hereby jointly
 3   move for an order approving the stipulation below. This joint motion moots
 4   Qualcomm’s Motion To Assert Additional Claims In Its Preliminary Infringement
 5   Contentions (Doc. No. 169 [Unopposed]) and Apple’s Motion For Leave To Assert
 6   Additional Combinations In Its Invalidity Contentions (Doc. No. 176, Doc. No. 194
 7   [Qualcomm’s Opposition to the same], Doc. No. 201 [Apple’s Reply regarding the
 8   same], Doc. No. 242 [Apple’s Supplemental Brief regarding the same]):
 9                                      STIPULATION
10
             WHEREAS, Qualcomm filed an unopposed Motion for Partial Termination
11
     by Withdrawal of Certain Claims (the “Termination Motion”) in the United States
12
     International Trade Commission Investigation No. 337-TA-1065, titled In the
13
     Matter of Certain Mobile Electronic Devices and Radio Frequency and Processing
14
     Components Thereof (“the ITC Action”), wherein it withdrew all but the following
15
     claims from the ITC Action:
16
         Patent No.                Claim(s)
17
         8,633,936                 19, 25, 27
18
         8,698,558                 7
19
         9,535,490                 31
20
21           WHEREAS, on June 21, 2018, Administrative Law Judge Pender granted
22   Qualcomm’s Termination Motion, and thus claim 25 of U.S. Patent No. 8,633,936
23   (“the ’936 Patent”) is the only claim asserted by Qualcomm in the ITC Action, but
24   not currently asserted in this action;
25           WHEREAS, allowing Qualcomm to assert claim 25 of the ’936 Patent in
26   addition to the claims identified in its infringement contentions served on May 25,
27   2018 would result in Qualcomm asserting fourteen total claims against Apple;
28           WHEREAS, the Court previously granted Qualcomm leave to assert a total of
                                                1        Case No. 3:17-CV-01375-DMS-MDD
     0
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10727 Page 3 of 8




 1   up to thirteen claims against Apple (Dkt. 207);
 2         WHEREAS, Apple does not oppose Qualcomm asserting claim 25 of U.S.
 3   ’936 Patent in this action and does not intend to pursue declaratory judgment as to
 4   the patent claims Qualcomm has withdrawn from the ITC Action1;
 5         WHEREAS, on April 20, 2018, Apple served invalidity contentions
 6   containing certain prior art combinations (the “Previously-Disclosed Prior Art
 7   Combinations”);
 8         WHEREAS, Apple has requested leave to assert sixteen of the Previously-
 9   Disclosed Prior Art Combinations against the fourteen claims asserted by
10   Qualcomm in this action, and Qualcomm does not oppose Apple’s request;
11         WHEREAS, the Parties agree that permitting Qualcomm to assert claim 25 of
12   the ’936 Patent, dismissing Apple’s declaratory judgment claims with respect to all
13   other patent claims not asserted in this proceeding, and permitting Apple to assert
14   sixteen prior art combinations will allow the Parties to more expeditiously litigate
15   the remaining issues in this case;
16         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by
17   and between the undersigned counsel:
18         Qualcomm may assert claim 25 of U.S. Patent No. 8,633,936 in this action,
19   and Apple withdraws its declaratory judgment claims as to all Qualcomm patent
20   claims other than the resulting 14 patent claims asserted in this action. Apple
21   reserves its right to pursue declaratory judgment as to all Qualcomm patent claims
22   should Qualcomm assert those claims against Apple in any forum. Apple may
23   submit up to sixteen of the Previously-Disclosed Prior Art Combinations against the
24   fourteen asserted Qualcomm patent claims. Any such prior art combinations shall
25   be asserted by August 14, 2018 and shall not include new art or combinations not
26
27   1
      Apple, however, reserves its right to pursue declaratory judgment as to these
28   claims should Qualcomm assert those claims against Apple in any forum.
                                            2       Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10728 Page 4 of 8




 1   included in Apple’s April 20, 2018 contentions.
 2
 3
     Dated: August 10, 2018           Respectfully submitted,
 4
 5
 6                                By: s/ Robert M. Yeh
                                      Juanita R. Brooks, SBN 75934, brooks@fr.com
 7                                    Seth M. Sproul, SBN 217711, sproul@fr.com
                                      Frank Albert, SBN 247741, albert@fr.com
 8                                    Joanna M. Fuller, SBN 266406, jfuller@fr.com
 9                                    Robert M. Yeh, SBN 286018, ryeh@fr.com
                                      Fish & Richardson P.C.
10                                    12390 El Camino Real
                                      San Diego, CA 92130
11                                    Phone: 858-678-5070 / Fax: 858-678-5099
12
                                      Ruffin B. Cordell, DC Bar No. 445801, appearing
13                                    pro hac vice, cordell@fr.com
                                      Lauren A. Degnan, DC Bar No. 452421,
14                                    appearing
                                      pro hac vice, degnan@fr.com
15                                    Fish & Richardson P.C.
16                                    The McPherson Building
                                      901 15th Street, N.W., 7th Floor
17                                    Washington, D.C. 20005
                                      Phone: 202-783-5070 / Fax: 202-783-2331
18
19                                    Mark D. Selwyn, SBN 244180,
                                      mark.selwyn@wilmerhale.com
20                                    Wilmer Cutler Pickering Hale and Dorr LLP
                                      950 Page Mill Road
21                                    Palo Alto, CA 94304
                                      Phone: 650-858-6000 / Fax: 650-858-6100
22
23                                    William F. Lee, MA Bar No. 291960 appearing
                                      pro hac vice, william.lee@wilmerhale.com
24                                    Joseph J. Mueller, MA Bar No. 647567 appearing
                                      pro hac vice, joseph.mueller@wilmerhale.com
25                                    Timothy Syrett, MA Bar No. 663676, appearing
26                                    pro hac vice, timothy.syrett@wilmerhale.com
                                      Wilmer Cutler Pickering Hale and Dorr LLP
27                                    60 State Street
                                      Boston, MA 02109
28                                    Phone: 617-526-6000 / Fax: 617-526-5000
                                           3       Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10729 Page 5 of 8




 1
                                  Nina S. Tallon, DC Bar No. 479481 appearing
 2                                pro hac vice, nina.tallon@wilmerhale.com
 3                                Wilmer Cutler Pickering Hale and Dorr LLP
                                  1875 Pennsylvania Avenue NW
 4                                Washington, DC 20006
                                  Phone: 202-663-6000 / Fax: 202-663-6363
 5
                                  William A. Isaacson, DC Bar No. 414788,
 6                                appearing pro hac vice, wisaacson@bsfllp.com
 7                                Karen L. Dunn, DC Bar No. 1002520, appearing
                                  pro hac vice, kdunn@bsfllp.com
 8                                Boies, Schiller & Flexner LLP
                                  1401 New York Avenue, N.W.
 9                                Washington, DC 20005
10                                Phone: 202-237-2727 / Fax: 202-237-6131

11                                Benjamin C. Elacqua, TX SBN 24055443
                                  appearing pro hac vice, elacqua@fr.com
12                                John P. Brinkmann, TX SBN 24068091 appearing
                                  pro hac vice, brinkmann@fr.com
13                                Fish & Richardson P.C.
14                                One Houston Center, 28th Floor
                                  1221 McKinney
15                                Houston, TX 77010
                                  Phone: 713-654-5300 / Fax: 713-652-0109
16
17                                Brian P. Boyd, GA SBN 553190 appearing
                                  pro hac vice, bboyd@fr.com
18                                Fish & Richardson P.C.
                                  1180 Peachtree St., NE, 21ST Floor
19                                Atlanta, GA 30309
                                  Phone: 404-892-5005 / Fax: 404-892-5002
20
21                                Attorneys for Defendant/Counterclaim Plaintiff
                                  APPLE INC.
22
23
24   Dated: August 10, 2018       Respectfully submitted,

25                            By: s/ Michelle A. Clark
                                  Karen P. Hewitt / kphewitt@jonesday.com
26                                Randall E. Kay / rekay@jonesday.com
27                                JONES DAY
                                  4655 Executive Drive, Suite 1500
28                                San Diego, California 92121
                                       4      Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10730 Page 6 of 8




 1                                Telephone: (858) 314-1200
                                  Facsimile: (858) 345-3178
 2
 3                                David A. Nelson /
                                  davenelson@quinnemanuel.com
 4                                QUINN EMANUEL URQUHART &
                                  SULLIVAN LLP
 5                                500 West Madison St., Suite 2450
                                  Chicago, Illinois 60661
 6                                Telephone: (312) 705-7400
 7                                Facsimile: (312) 705-7401

 8                                Sean S. Pak (SBN 219032)
                                  seanpak@quinnemanuel.com
 9                                Michael D. Powell (SBN 202850)
10                                mikepowell@quinnemanuel.com
                                  Michelle A. Clark (SBN 243777)
11                                michelleclark@quinnemanuel.com
                                  Andrew M. Holmes (SBN 260475)
12                                drewholmes@quinnemanuel.com
                                  50 California Street, 22nd Floor
13                                San Francisco, CA 94111
14                                Telephone: (415) 875-6600
                                  Facsimile: (415) 875-6700
15
                                  Evan R. Chesler / echesler@cravath.com
16                                CRAVATH, SWAINE & MOORE LLP
17                                Worldwide Plaza, 825 Eighth Avenue
                                  New York, NY 10019
18                                Telephone: (212) 474-1000
                                  Facsimile: (212) 474-3700
19
                                  Attorneys for Plaintiff QUALCOMM INC. and
20                                Counterclaim-Defendants QUALCOMM INC.
21                                and QUALCOMM TECHNOLOGIES, INC.

22
23
24
25
26
27
28
                                       5     Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10731 Page 7 of 8




 1                                FILER’S ATTESTATION
 2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
 3
     Policies and Procedures of the United States District Court of the Southern District
 4
     of California, I certify that authorization for the filing of this document has been
 5
     obtained from the other signatory shown above and that said signatory has
 6
 7   authorized placement of his electronic signature on this document.
 8   Executed on August 10, 2018.
 9                                        /s/ Michelle A. Clark
10                                           Michelle A. Clark
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             6       Case No. 3:17-CV-01375-DMS-MDD
Case 3:17-cv-01375-DMS-MDD Document 299 Filed 08/10/18 PageID.10732 Page 8 of 8




 1
                               CERTIFICATE OF SERVICE
 2
           The undersigned hereby certifies that a true and correct copy of the above and
 3
     foregoing document has been served on August 10, 2018 to all counsel of record
 4
     who are deemed to have consented to electronic service via the Court’s CM/ECF
 5
     system per Civil Local Rule 5.4. Any other counsel of record will be served by
 6
     electronic mail, facsimile and/or overnight delivery.
 7
           Executed on August 10, 2018 at San Francisco, California.
 8
 9
                                         s/ Michelle A. Clark
10
                                            Michelle A. Clark
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                            7       Case No. 3:17-CV-01375-DMS-MDD
